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      TRAVIS HANTSBARGER & DONNA BRITTON
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 8
                                UNITED STATES DISTRICT COURT,
 9
                               CETRANL DISTRICT OF CALIFORNIA
10
11     VERNON STRATTON                               Case No.: 2:19-cv-00430-MCS (ASX)
12     Plaintiff,
                                                     DEFENDANTS HANTBARGER AND
13     vs.                                           BRITTON’S MEMORANDUM OF
                                                     CONTENTIONS OF FACT AND LAW
14
       CITY OF LOS ANGELES, et al.
15                Defendants.                        Original Complaint Filed: 12/17/2019
                                                     Removed to Fed Court 1/18/19
16                                                   FAC Filed 11/22/19
                                                     Trial set for: 3/1/2
17
18                                                   Assigned to:
                                                     Hon. Mark C. Scarsi (7C)
19                                                   Magistrate: Alka Sagar (540)
20
      TO THIS HONORABLE COURT AND ALL DEFENDANTS AND THEIR ATTORNEYS OF
21
      RECORD :Pursuant to the Local rules, Defendants Travis Hantsbarger and Donna Britton (the
22    “Private Defendants”) hereby submit their Memorandum of Contentions of Law and Fact.
23
24
25    Dated October 9, 2020
                                                       D. SHAWN BURKLEY
26
                                                       Attorney for Travis Hantsbarger and
27                                                     Donna Britton

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                                       1
              DEFENDANTS HANTSBARGER AND BRITTON’S MEMORANDUM OF
                          CONTENTIONS OF FACT AND LAW
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 1 I.           SUMMARY OF EVIDENCE IN OPPOSITION TO PLAINTIFF’S CLAIMS
 2
                On the night of April 12, 2018 Donna Britton, who is elderly and lives alone, was
 3
 4    sitting in her recliner with the radio and lights off Plaintiff admits to climbing over a five foot

 5    fence and into elderly Defendant Donna Britton’s backyard. (Transcript of Preliminary
 6
      Hearing 1 at 3; Dckt 50, ¶12.) Plaintiff admits carrying a pistol (non-functioning) and a bat. (Id
 7
      at ¶ 13.) He repeated flashed a flashlight into Ms. Britton’s house scaring her. (TX at 4.)
 8
 9    Plaintiff claims he entered Ms. Britton’s property from the rear this because he heard a child

10    crying. (Id at ¶ 11.) Plaintiff claims that he entered Ms Britton’s backyard because the police
11    had investigated the matter and the child continued to cry, he proceeded into Defendant
12
      Britton’s yard “without trespassing.” (Ibid.) Ms. Britton did not give Plaintiff permission to
13
      enter the property. (TX at 8:11-14).Plaintiff did this despite being told by police “he was too
14
15    drunk to be walking around trying to figure out who was yelling.” (TX at 37:18 – 22.)

16              Scared, Ms. Britton called her neighbor, Travis Hantsbarger to assist her. (TX at 4.)
17    Plaintiff admits to laying on the ground while Hantsbarger was investigating. (Dckt 50 at ¶12.)
18
      Plaintiff he did this because he thought Hantsbarger might be a police officer. (Ibid.) Neither
19
      Britton or Hantsbarger are police officers, nor represented themselves as such.
20
21              When Plaintiff refused to comply with Hantsbarger’s statements to disarm and instead

22        rose up and took a batting stance against Hantsbarger, Hantsbarger in self-defense swung a
23
          golf club at plaintiff, knocking the gun from Plaintiff’s hand. Once the gun was knocked from
24
          Plaintiff’s hand, Hantsbarger instructed Britton to take the gun and hide it. (TX at 7.) Once the
25
26
27
28    1
          People v. Vernon Stratton LA Superior Court Case No. LA088200 (hereafter TX.)
                                                      2
                 DEFENDANTS HANTSBARGER AND BRITTON’S MEMORANDUM OF
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       police arrived, Ms. Britton gave the gun to the police. (TX at 7.) No allegation is made that
 1
 2     Hantsbarger or Britton detained Plaintiff any longer than it took for the police to arrive.

 3
             Plaintiff alleges, without proof, that both Ms. Britton and Mr. Hantsbarger made false
 4
 5     statements in their police reports and conspired with the LAPD defendants to prosecute

 6     Plaintiff. (Dkt. 50 passim)
 7
                            II.      SUMMARY OF CLAIMS AND DEFENSES
 8
 9
      A. CLAIM ONE: (Violation of Civil Rights – Unlawful Detention, Arrest and
10
         Imprisonment) Defendants believe that Plaintiff is suing for a deprivation of civil
11
         rights for unlawful detention and/or false imprisonment under 42 USC 1983.
12
         1. Elements of CLAIM ONE:
13
               1.VIOLATION OF CIVIL RIGHTS: UNLAWFUL DETENTION
14
                i.   Intentional deprivation of right
15
               ii.   Performed under “color of law”
16
              iii.   Violation of recognized right
17
               iv.   Deprivation was a substantial factor is causing Plaintiff’s harm
18
               2.UNLAWFUL IMPRISONMENT:
19
                i.   Intentional deprivation of freedom from movement
20
               ii.   by use of force or threats,
21
              iii.   with no legal right to detain
22
               iv.   and without consent,
23
               v.    causing harm to the Plaintiff.
24
25
          2. AFFIRMATIVE DEFENSES AND EVIDENCE IN SUPPORT
26
27
28

                                        3
               DEFENDANTS HANTSBARGER AND BRITTON’S MEMORANDUM OF
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          i.    As to the 1983 Claim: Neither Defendants Hantsbarger nor Britton are state actors. (See
 1
 2              Florer v. Congregation Pidyon Shevuyim, N.A. (9th Cir. 2011) 639 F.3d 916, 922.:

 3              “The Supreme Court has explained that "[t]he traditional definition of acting under
 4
                color of state law requires that the defendant in a § 1983 action have exercised power
 5
                'possessed by virtue of state law and made possible only because the wrongdoer is
 6
 7              clothed with the authority of state law.') No allegation is made that Hantsbarger or

 8              Britton, regardless of their statements (which appear to be neutral) are state actors.
 9       ii.    As to the 1983 Claim: Plaitiff does not allege the violation of a federal right as to
10
                Britton. Plaintiff alleges that Britton conspired with the LAPD defendants to take
11
                Plaintiff under the hospital where Plaintiff was placed under guard. Plaintiff does not
12
13              make any allegation that he has a right to go to the hospital without police guard where

14              there is an active investigation going on.
15    B. CLAIM TWO: (Violation of Civil Rights – Malicious Prosecution) Defendants believe
16
         that Plaintiff is suing for malicious prosecution under 42 USC 1983
17
18       1. Elements of CLAIM TWO: UNLAWFUL IMPRISONMENT
19              1.VIOLATION OF CIVIL RIGHTS
20              i. SEE SECTION (A)(1)(a)(i)
21              2.MALICIOUS PROSECUTION:
22               i.   Active involvement on causing Plaintiff to be arrested
23             ii.    Criminal proceeding ended in Plaintiff’s favor
24             iii.   No reasonable person in Defendant’s circumstances would have believed that
25                    there were grounds for causing Plaintiff to be arrested
26             iv.    Defendants acted primarily for a purpose other than to bring Plaintiff to justice
27              v.    Harm to Plaintiff
28             vi.    Defendants caused Plaintiff’s harm

                                        4
               DEFENDANTS HANTSBARGER AND BRITTON’S MEMORANDUM OF
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 1      2. AFFIRMATIVE DEFENSES AND EVIDENCE IN SUPPORT
 2
                        As to the 1983 Claim: Neither Defendants Hantsbarger nor Britton are state actors
 3
 4    and neither had any role in the charging decision

 5                      As to Malicious Prosecution claim: Plaintiff’s criminal proceeding did not in
 6
      Defendant’s favor (Williams v. Hartford Ins. Co. (1983) Cal.App.3d 893) because Plaintiff was
 7
      held to answer on the assault with a deadly weapon charge. (TX at 70.)
 8
      C. CLAIM THREE: (Negligence, including Negligent Infliction of Emotional Distress)
 9
10       Defendants believe that Plaintiff is suing for negligence (including NIED).
11       1. Elements of CLAIM TWO: NEGLIGENCE and NEID
12
             a. NEGLIGENCE
13
              i. Legal Duty to use care
14
15           ii. Breach of that duty

16           iii. Breach is proximate or legal cause of injury
17           b. NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
18
             i. Negligent causing of injury to victim
19
             ii. Plaintiff was present when victim was injured
20
21           iii. Plaintiff was aware that Defendant’s act was causing injury to victim

22           iv. Plaintiff suffered serious emotional distress
23
            v. Plaintiff’s conduct was substantial factor in causing Plaintiff’s serious emotional
24
             distress
25
          2. AFFIRMATIVE DEFENSES AND EVIDENCE IN SUPPORT
26
27          As to negligence: Plaintiff was owed no duty by Defendants where he when he climbed

28    over a wall onto another’s property, after being told by police that he was too drunk to go
                                       5
              DEFENDANTS HANTSBARGER AND BRITTON’S MEMORANDUM OF
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      looking around for causes of the disturbance, did not announce himself, hid in the grass rather
 1
 2    than respond to Hantsbarger’s requests that he identify himself, and assumed an attack position

 3    rather than surrender his weapons immediately. Plaintiff was contributorily negligent when he
 4
      climbed over a wall onto another’s property, after being told by police that he was too drunk to
 5
      go looking around for causes of the disturbance, did not announce himself, hid in the grass rather
 6
 7    than respond to Hantsbarger’s requests that he identify himself, and assumed an attack position

 8    rather than surrender his weapons immediately.
 9    Further Plaintiff assumed the risk that he would be taken for a trespasser when he when he
10
      climbed over a wall onto another’s property, after being told by police that he was too drunk to
11
      go looking around for causes of the disturbance, did not announce himself, hid in the grass rather
12
13    than respond to Hantsbarger’s requests that he identify himself, and assumed an attack position

14    rather than surrender his weapons immediately.
15               As to NEID: Failure to state a cognizable claim as there is no “direct victim” theory of
16
      NEID in California (Klein v. Children's Hosp. Medical Ctr. (1996) 46 Cal.App.4th 889, 894-
17
      895). The term, in the direct victim context is a “misnomer” and the action lies in negligence.
18
19    (Ibid.)

20
21    D. CLAIM FOUR: (Intentional Infliction of Emotional Distress) Defendants believe that
22
          they are being sued for Intentional Infliction of Emotional Distress (IIED).
23
           1.Elements of CLAIM FOUR: IIED
24
            i.     extreme and outrageous conduct,
25
26         ii.     the intent to cause, or reckless disregard of causing, emotional distress

27        iii.     the plaintiff's severe emotional suffering, and
28
          iv.      actual and proximate causation of the emotional distress by defendant's conduct.
                                                         6
                  DEFENDANTS HANTSBARGER AND BRITTON’S MEMORANDUM OF
                                    CONTENTIONS OF FACT AND LAW
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 1        2.AFFIRMATIVE DEFENSES AND EVIDENCE IN SUPPORT
 2          As to IIED: Defendant’s actions were lawfully privileged where Plaintiff trespassed on
 3          to Ms. Britton’s property armed with a gun and bat, did not announce himself, hid in the
 4          grass, did not comply with Mr. Hantsbarger’s requests to identify himself, refused to
 5          disarm voluntarily, and assumed an attack position. The actions were lawfully privileged

 6          where Penal Code 198.5 creates a presumption of reasonable defense where an intruder

 7          comes into a confined part of the home. (See also CALCRIM 505 and 506.)

 8
      E. CLAIM FIVE: (Assault and Battery) Defendants believe that they are being sued for
 9
10       Assault and Battery.

11
           1.Elements of CLAIM FOUR: ASSAULT
12
             i.     Defendant acted in a manner intending to cause harmful or offensive conduct
13
            ii.     That Plaintiff reasonably believed he was to be touched in a harmful manner
14
           iii.     That Plaintiff believed that Defendant was going to carry out the threat
15
           iv.      No consent by Plaintiff as to the touching
16
            v.      Plaintiff was harmed and Defendant’s conduct was a substantial factor in that harm
17         2.Elements of BATTERY
18            i.    Defendant touched Plaintiff with intent to harm him
19           ii.    No consent by Plaintiff
20          iii.    Reasonable person would have been offended
21          iv.     Harm to Plaintiff
22           ii.      That Plaintiff reasonably believed he was to be touched in a harmful manner
23
24
25        3.AFFIRMATIVE DEFENSES AND EVIDENCE IN SUPPORT
26          As to both ASSAULT and BATTERY: Defendant’s actions were done in self defense
27          where Hantsbarger’s actions were reasonable and proportionate. Hantsbarger had a golf
28          club and was defending himself against Plaintiff who was armed with a gun and metal
                                           7
                  DEFENDANTS HANTSBARGER AND BRITTON’S MEMORANDUM OF
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 1           bat. Plaintiff hid in the grass and then took an offensive posture “batting position” when
 2           asked to disarm.
 3
                                            III.    JURY TRIAL
 4
 5        The Private Defendants content that this matter should be heard before a jury.

 6                                       IV.    ATTORNEY’S FEES
 7
              The Private Defendants do not dispute that attorney’s fees may be recoverable on Federal
 8
       Civil Rights claims but maintain that no civil rights claims are properly against them because
 9
       they are not state actors.
10
11                       V.     NO ABANDONMENT OF DEFENSES OR ISSUES

12            The Private Defendants make this submission to comply with the local rules but do not
13
      abandon, but rather expressly reserve, any and all contentions of fact, defenses, and evidentiary
14
      issues that may arise at trial. The Private Defendants additionally reserve the right to supplement
15
16    this document as other evidence or contentions of fact become known to defendants.

17            Dated October 9, 2020
18
19
20
21                                                                               D SHAWN BURKLEY
                                                                                  Attorneys for Plaintiff
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                                        8
               DEFENDANTS HANTSBARGER AND BRITTON’S MEMORANDUM OF
                           CONTENTIONS OF FACT AND LAW
